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                 4                               UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7    LUBA GONZALEZ,                                       Case No. 2:20-CV-2181 JCM (DJA)
                 8                                         Plaintiff(s),                     ORDER
                 9           v.
               10     TRANSUNION, LLC,
               11                                        Defendant(s).
               12
               13            Presently before the court is defendant Trans Union LLC’s motion to extend time to file
               14     status report regarding removal. (ECF No. 14).
               15            The status report on removal was due December 30, 2020.           Defendant requests an
               16     extension of time up to and included January 15, 2021. Under Fed. R. Civ. P 6(b), this court
               17     may grant an enlargement of time for good cause if the request is made before the expiration of
               18     the original time period. Defendant presents good cause for this extension:
               19
                                    In this case, Counsel for Trans Union has only been able to
               20                   correspond with Plaintiff via U.S. Mail, and only recently obtained
                                    a valid telephone number for Plaintiff. Trans Union does not have
               21                   a valid email address for Plaintiff. Defendant Trans Union has
                                    attempted to contact Plaintiff but would like to request fourteen
               22                   (14) additional days to complete the Joint Status Report with the
                                    cooperation and coordination of Plaintiff. This request is so that
               23                   the parties are allowed the opportunity to correspond and make
                                    proposed revisions and changes to the Joint Status Report in
               24                   compliance with the Court’s requirements.

               25     Accordingly, this court grants the instant motion. (ECF No. 14). Defendant shall file its status
               26     report regarding removal on or before January 15, 2021.
               27     ...
               28

James C. Mahan
U.S. District Judge
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                1           Accordingly,
                2           IT IS SO ORDERED.
                3           DATED January 11, 2021.
                4
                                                         __________________________________________
                5                                        UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                       -2-
